                                                                                                                                                                    05/02/2012 05:27:11pm
B1 (Official Form 1) (12/11)                                                                                                                                       Bar No#: 31273
                                               United States Bankruptcy Court
                                             WESTERN DISTRICT OF WASHINGTON                                                                                      Voluntary Petition
                                                     SEATTLE DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Hackinen, Peter D.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
dba Pete the Painter



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-9595                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
624 N. 138th St
Seattle, WA
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            98133
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
King
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
                                                                                                             on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                Case 12-14646-TWD                            Doc 1           Filed 05/02/12                    Ent. 05/02/12 17:29:59                         Pg. 1 of 44
                                                                                                                                                             05/02/2012 05:27:11pm
B1 (Official Form 1) (12/11)                                                                                                                                                Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Peter D. Hackinen
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 Western Washington - Bankruptcy Court - Seattle                                            09-17051                                       7/16/2009
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Christina Latta Henry                                            5/2/2012
                                                                                                 Christina Latta Henry                                                  Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (12/11)                                                                                                                                                  Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Peter D. Hackinen
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Peter D. Hackinen
      Peter D. Hackinen
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     5/2/2012
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Christina Latta Henry                                                             defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Christina Latta Henry                            Bar No. 31273                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Seattle Debt Law, LLC
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 705 Second Ave. Suite 1050                                                                  given the debtor notice of the maximum amount before preparing any document
 Seattle, WA 98104                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (206) 324-6677
 Phone No.______________________        (206) 447-0115
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     5/2/2012
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                                                                                                                           05/02/2012 05:27:11pm
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
In re:   Peter D. Hackinen                                                               Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.




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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
In re:   Peter D. Hackinen                                                            Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:     [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Peter D. Hackinen
                       Peter D. Hackinen

Date:         5/2/2012




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B6A (Official Form 6A) (12/07)



In re Peter D. Hackinen                                                  Case No.
                                                                                                               (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                            Current Value




                                                                                  Husband, Wife, Joint,
                                                                                                             of Debtor's
                   Description and                      Nature of Debtor's




                                                                                    or Community
                                                                                                              Interest in
                     Location of                       Interest in Property
                                                                                                          Property, Without      Amount Of
                      Property                                                                                                  Secured Claim
                                                                                                           Deducting Any
                                                                                                           Secured Claim
                                                                                                            or Exemption


 Residence                                        Fee Simple                         -                        $270,000.00          $313,567.00
 624 North 138th
 Seattle, WA 98133




                                                                              Total:                          $270,000.00
                                                                              (Report also on Summary of Schedules)




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B6B (Official Form 6B) (12/07)




In re Peter D. Hackinen                                                                   Case No.
                                                                                                       (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,

             Type of Property             None                  Description and Location of Property
                                                                                                                                    Without Deducting
                                                                                                                                      any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption

1. Cash on hand.                                 Cash on Hand                                                     -                          $75.00



2. Checking, savings or other finan-             Bank of America                                                  -                       $2,500.00
cial accounts, certificates of deposit           Checking Account # xxxxx0784
or shares in banks, savings and loan,
thrift, building and loan, and home-             Bank of America                                                  -                         $500.00
stead associations, or credit unions,            Savings Account# xxxx0784
brokerage houses, or cooperatives.
                                                 Business Account - "Pete the Painter"                            -                       $1,500.00
                                                 Bank of America - Checking Account
                                                 Account# xxxx9362

                                                 Business Account - "Pete the Painter"                            -                         $868.79
                                                 Bank of America - Savings Account
                                                 Account# xxxx9362

                                                 Bank of America - Checking Account                               -                           $0.00
                                                 Account# xxxx9362

                                                 Personal Checking Account                                        -                         $102.55
                                                 Bank of America - Checking Account
                                                 Account# xxxx4333

                                                 Personal Checking Account                                        -                          $25.00
                                                 Bank of America - Savings Account
                                                 Account# xxxx4333



3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household Goods and Furnishings                                  -                       $1,670.00
including audio, video and computer
equipment.




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B6B (Official Form 6B) (12/07) -- Cont.




In re Peter D. Hackinen                                                                    Case No.
                                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,

             Type of Property              None                  Description and Location of Property
                                                                                                                                     Without Deducting
                                                                                                                                       any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption


5. Books; pictures and other art                  Movies                                                           -                          $50.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               Clothing                                                         -                         $125.00



7. Furs and jewelry.                       X

8. Firearms and sports, photo-             X
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.




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In re Peter D. Hackinen                                                             Case No.
                                                                                                 (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                      Continuation Sheet No. 2




                                                                                                      Husband, Wife, Joint,
                                                                                                                              Current Value of
                                                                                                                              Debtor's Interest




                                                                                                        or Community
                                                                                                                                 in Property,

             Type of Property               None          Description and Location of Property
                                                                                                                              Without Deducting
                                                                                                                                any Secured
                                                                                                                                   Claim or
                                                                                                                                  Exemption


14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.




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B6B (Official Form 6B) (12/07) -- Cont.




In re Peter D. Hackinen                                                                    Case No.
                                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,

             Type of Property              None                  Description and Location of Property
                                                                                                                                     Without Deducting
                                                                                                                                       any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption


22. Patents, copyrights, and other         X
intellectual property. Give
particulars.

23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                1987 Ford E-150 Van                                              -                       $1,100.00
and other vehicles and accessories.

26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,                Computer                                                         -                         $300.00
and supplies.
                                                  Painting Tools and Equipment                                     -                       $3,000.00



29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                                      2 Cats                                                           -                           $0.00




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B6B (Official Form 6B) (12/07) -- Cont.




In re Peter D. Hackinen                                                                       Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $11,816.34
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)




           Case 12-14646-TWD                  Doc 1       Filed 05/02/12           Ent. 05/02/12 17:29:59               Pg. 11 of 44
                                                                                                                                 05/02/2012 05:27:12pm
B6C (Official Form 6C) (4/10)



In re Peter D. Hackinen                                                                           Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 Cash on Hand                                             11 U.S.C. § 522(d)(5)                                     $75.00                   $75.00

 Bank of America                                          11 U.S.C. § 522(d)(5)                                 $2,500.00                 $2,500.00
 Checking Account # xxxxx0784

 Bank of America                                          11 U.S.C. § 522(d)(5)                                   $500.00                   $500.00
 Savings Account# xxxx0784

 Business Account - "Pete the Painter"                    11 U.S.C. § 522(d)(5)                                 $1,500.00                 $1,500.00
 Bank of America - Checking Account
 Account# xxxx9362

 Business Account - "Pete the Painter"                    11 U.S.C. § 522(d)(5)                                   $868.79                   $868.79
 Bank of America - Savings Account
 Account# xxxx9362

 Bank of America - Checking Account                       11 U.S.C. § 522(d)(5)                                      $0.00                      $0.00
 Account# xxxx9362

 Personal Checking Account                                11 U.S.C. § 522(d)(5)                                   $102.55                   $102.55
 Bank of America - Checking Account
 Account# xxxx4333

 Personal Checking Account                                11 U.S.C. § 522(d)(5)                                     $25.00                   $25.00
 Bank of America - Savings Account
 Account# xxxx4333

 Household Goods and Furnishings                          11 U.S.C. § 522(d)(3)                                 $1,670.00                 $1,670.00

 Movies                                                   11 U.S.C. § 522(d)(3)                                     $50.00                   $50.00

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $7,291.34                 $7,291.34




           Case 12-14646-TWD                   Doc 1       Filed 05/02/12            Ent. 05/02/12 17:29:59             Pg. 12 of 44
                                                                                                                    05/02/2012 05:27:12pm
B6C (Official Form 6C) (4/10) -- Cont.



In re Peter D. Hackinen                                                               Case No.
                                                                                                       (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                        Continuation Sheet No. 1



                                                                                                                         Current
                                                                                                                    Value of Property
                                                         Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                  Exemption                     Exemption               Exemption



 Clothing                                            11 U.S.C. § 522(d)(3)                            $125.00                  $125.00

 1987 Ford E-150 Van                                 11 U.S.C. § 522(d)(2)                          $1,100.00                $1,100.00

 Computer                                            11 U.S.C. § 522(d)(3)                            $300.00                  $300.00

 Painting Tools and Equipment                        11 U.S.C. § 522(d)(6)                          $2,175.00                $3,000.00

                                                     11 U.S.C. § 522(d)(5)                            $825.00




                                                                                                   $11,816.34              $11,816.34




            Case 12-14646-TWD                Doc 1    Filed 05/02/12         Ent. 05/02/12 17:29:59        Pg. 13 of 44
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B6D (Official Form 6D) (12/07)
          In re Peter D. Hackinen                                                                                        Case No.
                                                                                                                                                       (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF          UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT              ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    Various
ACCT #: xxxxxxxxx7043                                                             NATURE OF LIEN:
                                                                                  Arrearage claim
First Horizon Home Loans                                                          COLLATERAL:
                                                                                  Residence                                                         $10,000.00         $10,000.00
4000 Horizon Way                                                -                 REMARKS:
Attn: Bankruptcy
Irving, TX 75063


                                                                                  VALUE:                           $270,000.00
                                                                                  DATE INCURRED:    12/2006
ACCT #: xxxx0274                                                                  NATURE OF LIEN:
                                                                                  Conventional Real Estate Mortgage
Green Tree Servicing, LLC                                                         COLLATERAL:
                                                                                  Residence                                                         $30,576.00         $30,576.00
PO Box 0049                                                     -                 REMARKS:
Palatine, IL 60055



                                                                                  VALUE:                           $270,000.00
                                                                                  DATE INCURRED:    12/2006
ACCT #: xxxxxxxxx7043                                                             NATURE OF LIEN:
                                                                                  Conventional Real Estate Mortgage
Nationstar Mortgage LLC                                                           COLLATERAL:
                                                                                  Residence                                                        $272,991.00           $2,991.00
Attn: Mediation Group                                           -                 REMARKS:
350 Highland Drive
Lewisville, TX 75067


                                                                                  VALUE:                           $270,000.00



edNoticingPartiesDesignation                                                      McCarthy & Holthus LLP                                           Notice Only        Notice Only
Nationstar Mortgage LLC                                                           19735 10th Ave NE #N-200
                                                                                  Poulsbo, WA 98370




                                                                                                         Subtotal (Total of this Page) >            $313,567.00          $43,567.00
                                                                                                        Total (Use only on last page) >
________________continuation
       1                     sheets attached                                                                                                     (Report also on    (If applicable,
                                                                                                                                                 Summary of         report also on
                                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                                    Summary of
                                                                                                                                                                    Certain Liabilities
                                                                                                                                                                    and Related
                                                                                                                                                                    Data.)




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B6D (Official Form 6D) (12/07) - Cont.
          In re Peter D. Hackinen                                                                                      Case No.
                                                                                                                                                    (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                 DATE CLAIM WAS                                   AMOUNT OF         UNSECURED




                                                                                                                                UNLIQUIDATED
            MAILING ADDRESS                                                                 INCURRED, NATURE                                     CLAIM           PORTION, IF




                                                                                                                                 CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                  DISPUTED
        INCLUDING ZIP CODE AND                                                                 OF LIEN, AND                                     WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                  DESCRIPTION AND                                   DEDUCTING
          (See Instructions Above.)                                                              VALUE OF                                       VALUE OF
                                                                                            PROPERTY SUBJECT                                   COLLATERAL
                                                                                                  TO LIEN



edNoticingPartiesDesignation                                                        Nationstar Mortgage                                          Notice Only       Notice Only
Nationstar Mortgage LLC                                                             PO Box 829009
                                                                                    Dallas, TX 75382-9009




Sheet no. __________
               1       of __________
                                1     continuation sheets attached                                     Subtotal (Total of this Page) >                  $0.00               $0.00
to Schedule of Creditors Holding Secured Claims                                                       Total (Use only on last page) >             $313,567.00          $43,567.00
                                                                                                                                               (Report also on   (If applicable,
                                                                                                                                               Summary of        report also on
                                                                                                                                               Schedules.)       Statistical
                                                                                                                                                                 Summary of
                                                                                                                                                                 Certain Liabilities
                                                                                                                                                                 and Related
                                                                                                                                                                 Data.)




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B6E (Official Form 6E) (04/10)

In re Peter D. Hackinen                                                                           Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached




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                                                                                                                                                           05/02/2012 05:27:12pm
B6E (Official Form 6E) (04/10) - Cont.
In re Peter D. Hackinen                                                                                                   Case No.
                                                                                                                                                   (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT          AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF          ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM         PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                   PRIORITY, IF
           (See instructions above.)                                                                                                                               ANY


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Department of Revenue                                                            Taxes                                               Notice Only     Notice Only     Notice Only
2101 4th Ave, Suite 1400                                                         REMARKS:
Seattle, WA 98121-2300                                           -



ACCT #:                                                                          DATE INCURRED:   12/31/2012
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Taxes                                                 $4,868.00       $4,868.00           $0.00
PO Box 7317                                                                      REMARKS:
Philadelphia, PA 19101-7317                                      -               2008 Taxes and penalty



ACCT #:                                                                          DATE INCURRED:   8/1/09
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Taxes                                                 $3,033.00       $3,033.00           $0.00
PO Box 7317                                                                      REMARKS:
Philadelphia, PA 19101-7317                                      -               2009 Projected Income Tax
                                                                                 Liability based on YTD
                                                                                 earnings.
ACCT #:                                                                          DATE INCURRED:   12/31/07
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Taxes                                                 $5,847.00       $5,847.00           $0.00
PO Box 7317                                                                      REMARKS:
Philadelphia, PA 19101-7317                                      -               2007 Taxes and Penalty




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >         $13,748.00      $13,748.00           $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $13,748.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $13,748.00           $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07)
  In re Peter D. Hackinen                                                                                         Case No.
                                                                                                                             (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                       DATE CLAIM WAS                                  AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                         INCURRED AND                                     CLAIM




                                                                                                                                     CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                    CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                              CLAIM.
             (See instructions above.)                                                             IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
ATT Mobility                                                                          Cell phone                                                              $408.31
c/o Resurgent Capital Services                                                        REMARKS:
                                                                  -
PO BOX 288
GREENVILLE, SC 29603-0587

ACCT #: xxxx-xxxx-xxxx-1731                                                           DATE INCURRED:   01/2006
                                                                                      CONSIDERATION:
BAC / Fleet Bankcard                                                                  Credit Card                                                          $12,718.00
PO Box 26012                                                                          REMARKS:
                                                                  -
Greensboro, NC 27420




edNoticingPartiesDesignation                                                          Portfolio Recovery Assoc.                                           Notice Only
BAC / Fleet Bankcard                                                                  PO Box 12914
                                                                                      Northfolk, VA 23541



ACCT #: xxxx-xxxx-xxxx-8502                                                           DATE INCURRED:   11/1997
                                                                                      CONSIDERATION:
BAC / Fleet Bankcard                                                                  Credit Card                                                           $5,699.00
PO Box 26012                                                                          REMARKS:
                                                                  -
Greensboro, NC 27420




edNoticingPartiesDesignation                                                          Portfolio Recovery Assoc.                                           Notice Only
BAC / Fleet Bankcard                                                                  PO Box 12914
                                                                                      Northfolk, VA 23541



ACCT #: xxxxxxxx3823                                                                  DATE INCURRED:   10/2006
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                          $13,687.00
PO Box 15298                                                                          REMARKS:
                                                                  -
Wilmington, DE 19850



                                                                                                                               Subtotal >                   $32,512.31

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re Peter D. Hackinen                                                                                            Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                      CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #: xxxx0274                                                                          DATE INCURRED:   12/2006
                                                                                          CONSIDERATION:
First Tennessee Bank                                                                      2nd Mortgage                                                         $30,576.00
6522 Chapman Highway                                                                      REMARKS:
                                                                      -
Knoxville, TN 37920



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
IRS                                                                                       Taxes                                                                 $2,327.30
Centralized Insolvency Operation                                                          REMARKS:
                                                                      -
PO Box 7346                                                                               Penalties
Philadelphia, PA 19101-7346

ACCT #: xxxxxxxxxx8906                                                                    DATE INCURRED:
                                                                                          CONSIDERATION:
Lowes                                                                                     Credit Card                                                             $763.49
PO Box 530970                                                                             REMARKS:
                                                                      -
Atlanta, GA 30353-0970




 edNoticingPartiesDesignation                                                             Recovery Management Systems                                         Notice Only
 Lowes                                                                                    25 SE 2nd Ave #1120
                                                                                          Miami, FL 33131



ACCT #: xxxx-xxxx-xxxx-3034                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Office Depot Credit Plan                                                                  Credit Card                                                           $1,848.73
PO Box 689020                                                                             REMARKS:
                                                                      -
Des Moines, IA 50368-9020



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Rodda Paint                                                                               Paint supplies                                                          $427.78
c/o PO Box 23909                                                                          REMARKS:
                                                                      -
Portland, OR 97281-0000



Sheet no. __________
              1        of __________
                               2     continuation sheets attached to                                                              Subtotal >                    $35,943.30
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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B6F (Official Form 6F) (12/07) - Cont.
  In re Peter D. Hackinen                                                                                              Case No.
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx5970                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
University of Washington                                                                  Medical Bill                                                         $10,489.10
c/o STATE COLLECTION SERVICE, INC.                                                        REMARKS:
                                                                      -
2509 S. Stoughton Rd
Madison, WI 53716



 edNoticingPartiesDesignation                                                             State Collection Services, Inc.                                     Notice Only
 University of Washington                                                                 2509 S. Stoughton Rd.
                                                                                          Madison, WI 53716-3314



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Required Notification
PO BOX 7346                                                                               REMARKS:
PHILADELPHIA, PA 19101-7346




Sheet no. __________
              2        of __________
                               2     continuation sheets attached to                                                                Subtotal >                  $10,489.10
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                             $78,944.71
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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B6G (Official Form 6G) (12/07)
   In re Peter D. Hackinen                                                              Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   AT&T Wireless                                                         Contract for Cell Phone
   PO Box 68056                                                          Contract to be ASSUMED
   Anaheim Hills, CA 92817-8056




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                                                                                                                                        05/02/2012 05:27:13pm
B6H (Official Form 6H) (12/07)
In re Peter D. Hackinen                                                                            Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR




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B6I (Official Form 6I) (12/07)
In re Peter D. Hackinen                                                                          Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Single




 Employment:                      Debtor                                                     Spouse
 Occupation                      Painter
 Name of Employer                Self Employed
 How Long Employed               30 years
 Address of Employer



INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                       $0.00
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                          $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                     $0.00
   b. Social Security Tax                                                                                            $0.00
   c. Medicare                                                                                                       $0.00
   d. Insurance                                                                                                      $0.00
   e. Union dues                                                                                                     $0.00
   f. Retirement                                                                                                     $0.00
   g. Other (Specify)                                                                                                $0.00
   h. Other (Specify)                                                                                                $0.00
   i. Other (Specify)                                                                                                $0.00
   j. Other (Specify)                                                                                                $0.00
   k. Other (Specify)                                                                                                $0.00
5.    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                                $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                      $4,400.00
8.  Income from real property                                                                                   $1,500.00
9.  Interest and dividends                                                                                          $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                          $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00
      b.                                                                                                             $0.00
      c.                                                                                                             $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                              $5,900.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $5,900.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $5,900.00
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.




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B6J (Official Form 6J) (12/07)
  IN RE: Peter D. Hackinen                                                                      Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $2,057.55
    a. Are real estate taxes included?            Yes        No
    b. Is property insurance included?            Yes        No

 2. Utilities: a. Electricity and heating fuel                                                                                               $100.00
               b. Water and sewer                                                                                                             $50.00
               c. Telephone                                                                                                                  $250.00
               d. Other:
 3. Home maintenance (repairs and upkeep)                                                                                                     $75.00
 4. Food                                                                                                                                     $355.00
 5. Clothing                                                                                                                                   $0.00
 6. Laundry and dry cleaning                                                                                                                  $25.00
 7. Medical and dental expenses                                                                                                              $245.00
 8. Transportation (not including car payments)                                                                                              $150.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $50.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto                                                                                                                            $73.88
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)                                                                   $433.00
 Specify: 1040 Tax withholdings
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                          $2,000.00
 17.a. Other:
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $5,864.43
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: Debtor intends to file a modification of their home loan via the Washington State Foreclosure Fairness Act


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $5,900.00
 b. Average monthly expenses from Line 18 above                                                                                           $5,864.43
 c. Monthly net income (a. minus b.)                                                                                                         $35.57




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                             UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF WASHINGTON
                                     SEATTLE DIVISION
IN RE:   Peter D. Hackinen                                   CASE NO

                                                            CHAPTER    7

                                 EXHIBIT TO SCHEDULE J



                                 Itemized Business Expenses
                                        Business Income

Expense                                                Category                                  Amount

Business Expenses                                                                                 $2,000.00

                                                                           Total >               $2,000.00




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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF WASHINGTON
                                                     SEATTLE DIVISION
   In re Peter D. Hackinen                                                           Case No.

                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes       1                $270,000.00


 B - Personal Property                           Yes       5                 $11,816.34


 C - Property Claimed                            Yes       2
     as Exempt
 D - Creditors Holding                           Yes       2                                          $313,567.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes       2                                           $13,748.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes       3                                           $78,944.71
     Nonpriority Claims
 G - Executory Contracts and                     Yes       1
    Unexpired Leases

 H - Codebtors                                   Yes       1


 I - Current Income of                           Yes       1                                                                 $5,900.00
     Individual Debtor(s)

 J - Current Expenditures of                     Yes       2                                                                 $5,864.43
    Individual Debtor(s)

                                             TOTAL         20               $281,816.34               $406,259.71




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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
   In re Peter D. Hackinen                                                            Case No.

                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                    $13,748.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $13,748.00

State the following:
 Average Income (from Schedule I, Line 16)                                     $5,900.00

 Average Expenses (from Schedule J, Line 18)                                   $5,864.43

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $3,368.19

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $43,567.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                     $13,748.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $78,944.71

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $122,511.71




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B6 Declaration (Official Form 6 - Declaration) (12/07)
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                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                    22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 5/2/2012                                                 Signature    /s/ Peter D. Hackinen
                                                                          Peter D. Hackinen

Date                                                          Signature

                                                              [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.

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   In re:   Peter D. Hackinen                                                                        Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $31,003.00                  2008 YTD from Tax Return

        $17,209.00                  2009 YTD Earnings from self-employement

        $16,618.00                  2010 Gross Income

        $30,059.00                  2011 Gross Income

        $14,000.00                  2012 YTD Gross Income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $3,000.00                   2012 YTD Rental Income

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        First Horizon Home Loans                                         monthly                 $7,500.00               $273,548.08
                                                                         payments

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
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                                                         SEATTLE DIVISION
   In re:   Peter D. Hackinen                                                                      Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR               AND VALUE OF PROPERTY
        Seattle Debt Law, LLC                                         March 2012                      $500 for attorney fees
        705 2nd Ave, Ste 1050
        Seattle, WA 98104




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   In re:   Peter D. Hackinen                                                                      Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




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                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                         BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                      NATURE OF BUSINESS                             DATES

        Peter Hackinen, dba Pete the Painter                         Painting                                       Closed, 12/05/08
        624 N. 138th St
        Seattle, WA 98133
        SSN 9595
        UBI 600547421

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




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                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.

        NAME AND ADDRESS                                                DATES SERVICES RENDERED
        Leon Ficker, CPA
        221 First Avenue West
        Seattle, Washinton 98119

None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
       of this case.




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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   Peter D. Hackinen                                                                         Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 5/2/2012                                                           Signature          /s/ Peter D. Hackinen
                                                                        of Debtor          Peter D. Hackinen

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571




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  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
                                                        SEATTLE DIVISION
  IN RE:     Peter D. Hackinen                                                              CASE NO

                                                                                            CHAPTER      7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                               Describe Property Securing Debt:
 First Horizon Home Loans                                                       Residence
 4000 Horizon Way
 Attn: Bankruptcy
 Irving, TX 75063
 xxxxxxxxx7043



 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                               Describe Property Securing Debt:
 Green Tree Servicing, LLC                                                      Residence
 PO Box 0049
 Palatine, IL 60055
 xxxx0274




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


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  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
                                                        SEATTLE DIVISION
  IN RE:     Peter D. Hackinen                                                                CASE NO

                                                                                              CHAPTER      7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                               Continuation Sheet No. 1


 Property No.   3

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Nationstar Mortgage LLC                                                          Residence
 Attn: Mediation Group
 350 Highland Drive
 Lewisville, TX 75067
 xxxxxxxxx7043



 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                                Describe Leased Property:                       Lease will be Assumed pursuant to
 AT&T Wireless                                                 Contract for Cell Phone                         11 U.S.C. § 365(p)(2):
 PO Box 68056
 Anaheim Hills, CA 92817-8056                                                                                  YES              NO




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 5/2/2012                                                        Signature    /s/ Peter D. Hackinen
                                                                                 Peter D. Hackinen




Date                                                                 Signature




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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WASHINGTON
                                                SEATTLE DIVISION
In re Peter D. Hackinen                                                                   Case No.

                                                                                          Chapter            7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Peter D. Hackinen                                                   X    /s/ Peter D. Hackinen                           5/2/2012
                                                                        Signature of Debtor                              Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)               Date


Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.




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B 201A (Form 201A) (11/11)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.




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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $46 administrative fee: Total fee $281)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $46 administrative fee: Total fee $246)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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IN RE:     Peter D. Hackinen                                                             CASE NO

                                                                                         CHAPTER      7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $2,500.00
     Prior to the filing of this statement I have received:                                        $2,500.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                         5/2/2012                             /s/ Christina Latta Henry
                           Date                               Christina Latta Henry                      Bar No. 31273
                                                              Seattle Debt Law, LLC
                                                              705 Second Ave. Suite 1050
                                                              Seattle, WA 98104
                                                              Phone: (206) 324-6677 / Fax: (206) 447-0115




      /s/ Peter D. Hackinen
     Peter D. Hackinen




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                                      WESTERN DISTRICT OF WASHINGTON
                                              SEATTLE DIVISION
  IN RE:   Peter D. Hackinen                                                        CASE NO

                                                                                   CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 5/2/2012                                            Signature    /s/ Peter D. Hackinen
                                                                     Peter D. Hackinen



Date                                                     Signature




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                      AT&T Wireless
                      PO Box 68056
                      Anaheim Hills, CA 92817-8056



                      ATT Mobility
                      c/o Resurgent Capital Services
                      PO BOX 288
                      GREENVILLE, SC 29603-0587


                      BAC / Fleet Bankcard
                      PO Box 26012
                      Greensboro, NC 27420



                      Chase
                      PO Box 15298
                      Wilmington, DE 19850



                      Department of Revenue
                      2101 4th Ave, Suite 1400
                      Seattle, WA 98121-2300



                      First Horizon Home Loans
                      4000 Horizon Way
                      Attn: Bankruptcy
                      Irving, TX 75063


                      First Tennessee Bank
                      6522 Chapman Highway
                      Knoxville, TN 37920



                      Green Tree Servicing, LLC
                      PO Box 0049
                      Palatine, IL 60055



                      Internal Revenue Service
                      PO Box 7317
                      Philadelphia, PA 19101-7317




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                      Internal Revenue Service
                      PO BOX 7346
                      PHILADELPHIA, PA 19101-7346



                      IRS
                      Centralized Insolvency Operation
                      PO Box 7346
                      Philadelphia, PA 19101-7346


                      Lowes
                      PO Box 530970
                      Atlanta, GA 30353-0970



                      McCarthy & Holthus LLP
                      19735 10th Ave NE #N-200
                      Poulsbo, WA 98370



                      Nationstar Mortgage
                      PO Box 829009
                      Dallas, TX 75382-9009



                      Nationstar Mortgage LLC
                      Attn: Mediation Group
                      350 Highland Drive
                      Lewisville, TX 75067


                      Office Depot Credit Plan
                      PO Box 689020
                      Des Moines, IA 50368-9020



                      Portfolio Recovery Assoc.
                      PO Box 12914
                      Northfolk, VA 23541



                      Recovery Management Systems
                      25 SE 2nd Ave #1120
                      Miami, FL 33131




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                      Rodda Paint
                      c/o PO Box 23909
                      Portland, OR 97281-0000



                      State Collection Services, Inc.
                      2509 S. Stoughton Rd.
                      Madison, WI 53716-3314



                      University of Washington
                      c/o STATE COLLECTION SERVICE, INC.
                      2509 S. Stoughton Rd
                      Madison, WI 53716




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